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                                       EMPLOYEE
                                 NON-DISCLOSURE AGREEMENT

           This Agreement is between GeoEye Analytics Inc. and its affiliates (collectively, the “Company”)
   and the employee whose name is at the bottom (“Employee”).

           The Employee will be employed by GeoEye Analytics Inc. and/or one of its affiliates in a
   capacity in which he or she may receive or contribute to the production of Proprietary Information and
   Inventions (as defined below).

           THEREFORE, the Employee and the Company agree as follows:

           A. Proprietary Information.            “Proprietary Information” means information or material
   proprietary to the Company and not generally known by people not affiliated with the Company. It
   includes information designated as Proprietary Information by the Company of or to which the Employee
   may obtain knowledge or access as a result of the Employee’s relationship with the Company, including
   information discovered or developed in whole or in part by the Employee, information received from
   third parties, and information so designated as proprietary or so discovered or developed or so received.
   Proprietary Information includes, but is not limited to, the following types of information and other ideas:
   concepts, software, designs, drawings, specifications, techniques, models, data, diagrams, flow charts,
   processes, programs, procedures, “know-how,” marketing and development plans, strategic plans, pricing
   and cost information and financial information. Proprietary Information does not include information that
   is known to and available for use by the public.

            B. Non-Disclosure.       The Employee agrees that during and for the period of three years after
   his or her employment with the Company, the Employee shall hold in confidence and not disclose
   (directly or indirectly) any Proprietary Information to any person or entity, or use any Proprietary
   Information for any purpose, except as authorized by the Company. The foregoing restrictions shall not
   apply to information that becomes known to and available for use by the public other than as a result of
   the Employee’s unauthorized acts or failures to act. The Employee acknowledges that all materials that in
   any way contain or reflect Proprietary Information including, but not limited to, documents, reports,
   plans, notes, memoranda, sketches, drawings, discs and records (including electronic records), shall
   belong exclusively to the Company. The Employee agrees to deliver to the Company, at the date of his or
   her termination of employment with the Company or at any other time the Company may request, all
   copies of such materials that the Employee may possess or have under his or her control. The Employee
   also agrees to execute a certificate of compliance with the provisions of this Section B.

           C. Inventions and Patents.        The Employee agrees that all inventions, ideas, processes,
   developments, know-how, other works of authorship, discoveries, designs, techniques, innovations and
   improvements related to the Company conceived or made by the Employee during his or her employment
   period (hereinafter collectively referred to as “Inventions”), belong to the Company. The Employee will
   promptly disclose any Inventions to the Company and perform all actions reasonably requested by the
   Company to establish and confirm such ownership. The Employee hereby assigns and agrees to assign in
   the future (when any such Inventions are first reduced to practice or first fixed in a tangible medium, as
   applicable) to the Company all of Employee’s right, title, and interest in and to any and all Inventions
   (and all trade secret, patent, copyright, trademark, trade name, service mark, and other intellectual
   property rights throughout the world with respect thereto) whether or not patentable or registrable under



                                              EXHIBIT 3
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